43 F.3d 1468
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnnie Clarence ROGERS, Jr., Petitioner Appellant,v.David K. SMITH, Respondent Appellee.
    No. 94-6997.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 17, 1994.Decided Dec. 19, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T. S. Ellis III, District Judge.  (CA-94-279-AM).
      Johnnie Clarence Rogers, Jr., appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, VA, for appellee.
      E.D.Va.
      DISMISSED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Rogers v. Smith, No. CA-94-279-AM (E.D. Va.  Aug. 22, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    